                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

AHAJI AMOS and KIRK AMOS
DELIVERY AND COURIER, LLC                 CASE NO. 1:22-cv-00055

                        Plaintiffs,       DEFENDANT’S MOTION TO
                                          DISMISS AND COMPEL
                                          ARBITRATION PURSUANT TO
            v.                            RULE 12(B)(3)

AMAZON LOGISTICS, INC.,
                  Defendant.



      Defendant Amazon Logistics, Inc. (“Amazon”), through its undersigned

counsel, moves to dismiss the Complaint for improper venue and to compel

arbitration pursuant to Rule 12(b)(3) of the Federal Rules of Civil Procedure

and the parties’ written arbitration agreement. The Declaration of Micah

McCabe, which attaches the written arbitration agreement is filed in support

of the motion, and a supporting brief is filed contemporaneously herewith. See

Grimes v. Gov't Emples. Ins. Co., 2019 U.S. Dist. LEXIS 126618, *5 (M.D.N.C.,

July 30, 2019) (“Arbitration clauses are a subset of forum-selection clauses,

which are enforced in this circuit pursuant to a Rule 12(b)(3) motion to

dismiss for improper venue. The court may examine evidence outside the

pleadings when considering the motion.”) (citations omitted).




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Respectfully submitted the 25 day of March, 2022.


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